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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION


                                                                  Chapter 11
 In re:
                                                                  Case No. 18-31274 (MI)

 IHEARTMEDIA, INC., et al.,                                       (Jointly Administered)

                                     Debtors.1


                        NOTICE OF WITHDRAWAL OF DOCKET NO. 297

                PLEASE TAKE NOTICE that on March 26, 2018, Prime Clerk LLC (“Prime
Clerk”), the claims and noticing agent for the Debtors in the above-captioned chapter 11 cases,
filed the Affidavit of Service of Paul Pullo Regarding the Notice of Filing of Proposed Second
Interim Order Authorizing (I) Postpetition Use of Cash Collateral, (II) Granting Adequate
Protection to Prepetition Lenders and (III) Scheduling a Final Hearing [Docket No. 294] and
Agenda for Matters Scheduled for March 27, 2018, at 9:30 a.m. (CT), Before the Honorable
Marvin Isgur at the United Stated Bankruptcy Court for the Southern District of Texas, at
Courtroom 404, 515 Rusk Street, Houston, Texas 77002 [Docket No. 295] (the “Affidavit of
Service”).

             PLEASE TAKE FURTHER NOTICE that Prime Clerk hereby withdraws
Docket No. 297.

              PLEASE TAKE FURTHER NOTICE that the correct Affidavit of Service was
filed on March 30, 2018 at Docket No. 348.




Dated: March 30, 2018




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  Due to the large number of Debtors in these chapter 11 cases, for which joint administration has been requested, a
complete list of the Debtors and the last four digits of their tax identification, registration, or like numbers is not
provided herein. A complete list of such information may be obtained on the website of the Debtors’ claims,
noticing and solicitation agent at https://cases.primeclerk.com/iheartmedia. The location of Debtor iHeartMedia,
Inc.’s principal place of business and the Debtors’ service address is: 20880 Stone Oak Parkway, San Antonio,
Texas 78258.
